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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.        CV 18-9545-PA (JEM)                                       Date     Sept. 25, 2020
 Title           REGINALD A GARY v LOS ANGELES COUNTY SHERIFF JIM MCDONNELL,
                 et al




 Present: The Honorable            John E. McDermott, United States Magistrate Judge
                    S. Lorenzo
                   Deputy Clerk                                    Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                        None                                                 None
 Proceedings:            (IN CHAMBERS) ORDER RE BRIEFING SCHEDULE FOR
                         PLAINTIFF’S MOTION TO COMPEL (Docket No. 52)

       On September 24, 2020, Plaintiff Reginald A. Gary filed a “Notice of Motion for
Discovery and Court Order, for the Full Names and Defendants Badge Numbers, for the Los
Angeles Sheriff Department, Court Order for the Full Name of the Los Angeles Sheriff,
Lieutenant Bedogne, and the Full Name of the Los Angeles Sheriff, Sergeant Niel and Los
Angeles Sergeant Lodge, Full Name for the Service by the U.S. Marshal’s Office”. The Court
construes this as Plaintiff’s Motion to Compel (“Motion”).

       Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the
Court finds that this matter is appropriate for decision without oral argument.

        Defendants shall file their opposition to the Motion no later October 8, 2020. Plaintiff
may reply to the opposition no later than October 22, 2020. This matter will be deemed
submitted on either: (a) the day the opposition is filed, or due and not filed; or (b) the day the
reply is filed, or due and not filed. The parties will be notified of the Court’s decision in writing.




cc: Parties
                                                                                            :
                                                    Initials of Preparer                  slo




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